Action to recover damages for negligent failure to deliver a telegraphic message. There was a verdict for plaintiff establishing negligent failure to transmit message pursuant to contract, and awarding recovery of substantial damages by reason of mental anguish. Judgment on verdict, and defendant excepted and appealed.
It was chiefly urged against the validity of this recovery:
1. That there was no evidence that the message had ever been received for transmission by defendant company.
2. That there was no sufficient evidence of mental anguish to justify an award of substantial damages on that account.
But we are of opinion that neither position can be sustained.
There was testimony on part of plaintiff tending to show that she resided with her mother about 300 or 400 yards from Swain, a local railroad station in a remote country district, and on 19 July, 1909, she became imminently ill with an attack of appendicitis. That her attending physician was of opinion that an operation was immediately necessary; that he was unwilling and unable to undertake it there with the facilities afforded, and that she should go to a hospital for that purpose. That the plaintiff and her people were unable to pay ready money for such operation, and the doctor, who lived in 150 yards of the telegraph office, undertook to communicate by telegram with Dr. Leigh at (476) Norfolk and ascertain if the patient could be received in the hospital there and given the necessary treatment. This was 2 P. M. Monday afternoon; that at 4 P. M. Dr. Speight sent Dr. Leigh at Norfolk a message of inquiry as follows: *Page 399 
DR. SOUTHGATE LEIGH,                     ROPER, N.C. 19 July, 1909.
Norfolk, Va.
Young lady appendicitis; can't pay anything till fall. Will you operate? Answer.                                       J. H. SPEIGHT.
This message was shortly received at Norfolk, and within thirty minutes after receipt of same Dr. Leigh placed with a messenger boy, sent from defendant company's office for the purpose of taking the same, a return message, as follows:
Dr. J. W. SPEIGHT.                                    July 19, 1909.
Yes; send patient at once. What train?
SOUTHGATE LEIGH.
That this message was never received, and the doctor, not having heard, did not go to see the patient the following morning by 8:30, as he would have done, nor until 2 or 3 P. M., and then told the parties that no message had been received. That it was then arranged that the patient should go to Dr. Tayloe at Washington, N.C. and she did go there on Wednesday and was there treated successfully. That Dr. Tayloe was a skilled surgeon and the patient's case was properly treated at Washington. As tending to show a degree of mental suffering amounting to mental anguish, the plaintiff, testifying in her own behalf, among other things was allowed to say: "He said I had to go to the hospital right away. He could not operate on me. He said that he would wire Dr. Leigh that afternoon and let us know the next morning, and when my mother asked him why he did not come, he said it was because he had not heard from Dr. Leigh."
"Tell us whether you were alarmed or not about your condition, and to what extent, as best you can?"
(Objection by defendant; overruled, and defendant excepts.) "I was alarmed. I was scared. I never thought of going to the hospital before. My mother was crying and my sister, too, and of course they came in the room crying, and that scared me."               (477)
(Defendant objects to this form of answer and moves that the same be stricken out. Objection overruled, and defendant excepts. Here the court charged the jury that they should not consider the crying of the mother nor anything except the plaintiff's mental and physical condition directly due to her failure to hear from Dr. Leigh as to whether he would operate).
"I did not know of anywhere I could get relief except from Dr. Leigh during that whole day, until Dr. Speight came late in the evening and said he had not heard from Dr. Leigh, and fixed for me to go to the Washington Hospital." *Page 400 
Q. What impressions was made on your mind by Dr. Speight — that you would die if you did not get operated on? A. He said that an operation had to be performed, and so I thought it was an operation or death.
Q. Why was it that you had to look to Dr. Leigh? A. Because that was all Dr. Speight had told me.
Q. Did you have any money to pay cash for your operation? A. I did not.
And again:
Q. From the time Dr. Speight said he could not hear from Dr. Leigh, on through the balance of the afternoon and night and next morning until you heard from Dr. Speight that Dr. Tayloe would operate on you, what was your mental condition with reference to the question as to whether you could get anybody to operate on you at all? A. I thought the reason that Dr. Leigh had not answered the telegram was that I did not have the money to pay him with, and I did not know whether I could get anybody else to operate on me or not. I did not know whether Dr. Tayloe would operate on me without the money or not, and my mind was all torn up because I did not know whether I could get anybody to operate on me or not. If I had heard from Dr. Leigh I would have known whether he would operate on me or not, and (478) would not have been uneasy.
And further:
"I was conscious of everything that was happening. I was studying whether I could be operated on or not. I did not want to be operated on, but after Dr. Speight said I had to be operated on, I thought I would have to be operated on right away or die one. My mother and sister were crying because they were afraid of the operation and death, too, I suppose. What was troubling me was that Dr. Speight said I had to be operated on and we didn't hear from Dr. Leigh, and I didn't know of anywhere else I could get operated on.". . . "I did not know why he did not hear from Dr. Speight. I did not know whether he thought I would die before I could get to the hospital or not. I was lying there thinking that he thought I was too low to go to the hospital, and that I would die before I could get there. I thought he was waiting to let me die before he let us know what was the matter. That annoyed my mind."
Q. To what extent? A. I was in agony. I did not know what to do or what to think. I just thought he was waiting for me to die.
On the same subject Walker Alexander, a brother of plaintiff, testified as to his sister's suffering as follows: "She would ask me when I would go to the room, `Bud, have you heard from the doctor yet?' and I said *Page 401 
no. She said, `Do you think I am going to die?' and I said, `No, I hope not.' All she talked about was believing she was going to die."
The right of an addressee or a beneficiary whose interest has been made known to the company to recover for a negligent failure to deliver a message of this character is fully established with us, and a persual of this testimony will clearly bring plaintiff's cause within the principle of our decisions where substantial damages by reason of mental anguish have been allowed. Christmon v. Telegraph Co., 159 N.C. 195; Kivett v.Telegraph Co., 156 N.C. 296; Suttle v. Telegraph Co., 148 N.C. 480;Dayvis v. Telegraph Co., 139 N.C. 80; Green v. Telegraph Co., 136 N.C. 489;Bright v. Telegraph Co., 132 N.C. 317; Kennon v. Telegraph Co.,126 N.C. 232; Young v. Telegraph Co., 107 N.C. 370.
As to the receipt of the message by the company, the relevant facts appearing in the record as we understand them, are that (479) the original message was received by Dr. Leigh in due course, at his office in Norfolk on the afternoon of 19 July, and the doctor then dictated a return message, which was written by his secretary on a company blank, kept regularly in his office for the purpose. The secretary then called over the telephone for 165, the telegraph company's number, and asked them to send a boy for the telegram. The witness stating that "165 was the defendant company's phone number, as she had called it several hundred times before. That in fifteen or twenty minutes, not over a half hour, a boy came for the return message, and it was delivered to him in the office of Dr. Leigh.
There was evidence for defendant from the different employees of the office that no such message was received in the office of the company, and the office record, the call sheet on which all entries of the kind were made, was referred to by the witnesses, who stated that it showed no call for a messenger on that date for any purpose, and on consideration of the testimony and the authorities applicable, we are of opinion and so hold, that there was a receipt of the return message for transmission on the part of the company, or rather testimony from which such receipt could be properly inferred, and this notwithstanding a stipulation appearing on the blank that no responsibility regarding messages should attach to the company unless accepted at one of its transmission offices, and if a message is sent to the office by one of the company's messengers, he acts for the purpose as "agent of the sender."
It is well understood here and in other jurisdictions that a telegraph company may make reasonable stipulations restrictive of its liability and to the extent that they are not relieved thereby from the obligations of diligence superimposed by law in the performance of their duties. Sherrillv. Telegraph Co., 109 N.C. 527; Thompson v. Telegraph Co., *Page 402 107 N.C. 449. And there is authority to the effect that the stipulations in question here appearing on a blank on which the sender writes the message shall bind the sender as a part of the contract. Stamey v.Western Union, 92 Ga. 613. If this, however, may be allowed to prevail under ordinary conditions, it is qualified, as a general proposition, (480) by decisions which hold that if a messenger is instructed by the company to procure an answer, for this last purpose the messenger will be considered the company's agent and the stipulation referred to is not controlling. And this limitation should apply, we think, when in response to a specific request the company sends a messenger for the express purpose of taking a message. Will v. TelegraphCo., 3 A.D. N. Y., 22; Ayers v. Telegraph Co., 3 A.D. N. Y., 149; Jones on Telegraph and Telephone Companies, sec. 408; 37 Cyc., 1692, note 68.
The case of Ayers v. Telegraph Co., 65 N.Y., supra, cited by defendant, recognizes the limitations on the general principle established in the former case. Will v. Telegraph Co., supra. In this connection it was further insisted for defendant that there was no evidence that the messenger boy was sent by the company for the purpose of receiving the message, and that the message given over the telephone wire to the telephone number of defendant company was not sufficient as testimony in the absence of evidence ultra that this message was received by an agent of defendant company authorized for that purpose, citing Planters Oil Co. v.Telegraph Co., 126 Ga. 621. While there is some difference in the facts of that case, we do not think it can be upheld as authority on the facts presented here, where the number is called, known to be that of the telegraph company, "tried as such, several hundred times," as stated by the witness, and responded to by a company messenger. In such case, on the better reason and by the weight of authority, we are of opinion that a messenger sent in response to such a request should be considered primafacie an agent of the company, and certainly under such circumstance there is evidence from which authority of the company could be inferred. Reed v.R. R., 72 Iowa 166; R. R. v. Potter, 36 Ill. App. 590; Gore v. Tel. Co., Tex. Civ. App.; Jones on Evidence (2 Ed.), 262.
There were also several objections to the admission of evidence, chiefly as to the physical and nervous condition of the plaintiff at the time in question, but none of the exceptions can be sustained or held for reversible error. Most of the testimony was directly relevant as (481) tending to show mental suffering that would naturally arise under the conditions indicated, and where it was otherwise, the trial court in its clear and comprehensive charge was so careful to restrict *Page 403 
the recovery and the effect of the evidence to the suffering directly attributable to the failure to deliver the message and to that alone that the jury could not have been misled. There is no error, and the judgment below must be affirmed.
No error.